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UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

UNITED STATES OF AMERICA
v. Case No. 2:25-mj-00034-KFW

DIAZ-LOPEZ, CUAUHTEMOC
ALFREDO

CRIMINAL COMPLAINT
I, Scott Hanton, being duly sworn, state that the following is true and correct to
the best of my knowledge and belief:

COUNT ONE
(Re-Entry of Alien After Prior Deportation)

On about January 22, 2025, in the District of Maine, the defendant,
DIAZ-LOPEZ, CUAUHTEMOC ALFREDO

an alien, was found in the United States of America after having been previously removed
therefrom on about April 29, 2019, at San Ysidro, California and not having obtained the
express consent of the United States Attorney General, or its successor, the Secretary of the
U.S. Department of Homeland Security to reapply for admission to the United States of
America,

In violation of Title 8, United States Code, Sections 1326(a).

The complainant states that this complaint is based on the attached affidavit, which

is incorporated by reference. A>

Scott Hanton ~ —
Border Patrol Agent

Sworn to telephonically and signed
electronically in accordance with the
requirements of Rule 4.1 of the Federal Rules
of Criminal Procedures

Date: Jan 27 2025 Ly I pmmmen 7, |

Judge"s signature

City and state: Portland, Maine

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